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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                      FRANKFORT

  UNITED STATES OF AMERICA,                     )
                                                )
         Plaintiff,                             )  Criminal No. 3:19-cr-00022-GFVT-EBA
                                                )
  V.                                            )
                                                )      MEMORANDUM OPINION
  SAI P. GUTTI, M.D.,                           )                    &
                                                )                 ORDER
         Defendant.                             )
                                                )
                                        *** *** *** ***


        Generally, a federal criminal defendant in the United States is charged with criminal

 activity by way of an indictment returned in open court by a grand jury. Such an indictment

 must give a defendant notice of the crimes charged so he or she can adequately prepare a

 defense. If this charging document suffers from certain defects that do not adequately give the

 defendant notice, Federal Rule of Criminal Procedure 12(b) allows for the dismissal of the

 indictment prior to trial. Defendant Sai P. Gutti, M.D., seeks relief from the Court under this

 Rule. Dr. Gutti argues that the Indictment—which charges Dr. Gutti with eight counts of health

 care fraud—is premised on an unconstitutional delegation of Congress’s rulemaking power.

 Alternatively, Dr. Gutti asks for the Court to grant a Motion in Limine to prevent the use of

 allegedly unconstitutional evidence at trial. Because the Indictment complies with the

 requirements of the United States Constitution, Dr. Gutti’s Motion to Dismiss and Alternative

 Motion in Limine [R. 34] is DENIED.
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                                                     I
         On April 11, 2019, a Federal Grand Jury returned an Indictment against Sai P. Gutti,

 M.D. [R. 1]. This Indictment charged Dr. Gutti with eight counts of health care fraud in

 violation of 18 U.S.C. § 1347. Id. According to the factual background set forth in the

 Indictment, Dr. Gutti was a Kentucky-licensed physician who provided pain management

 services in Pikeville, Kentucky. Id. at 5. Dr. Gutti was enrolled as a provider with both

 Medicare and Medicaid. Id. at 5. The Government contends that, between August 2016 and

 March 2019, Dr. Gutti ordered extraneous analyses 1 of various patients’ urine irrespective of any

 identified medical need and that, by doing so, “did knowingly and willfully execute, and attempt

 to execute, a scheme or artifice to defraud” Medicare and Medicaid. [R. 1 at 6; R. 35 at 5.]

 Allegedly, Dr. Gutti ordered these tests to “obtain, by means of materially false and fraudulent

 pretenses . . . money and property owned by, and under the custody and control of” Medicare

 and Medicaid. [R. 1 at 6-7.]

         Defendant Gutti now moves to dismiss the Indictment on the basis that the counts of

 health care fraud brought against him are inherently reliant on a standard promulgated by a

 private entity as “sub-regulatory guidance” which lacks the force of law. Dr. Gutti alleges that,

 to prove health care fraud under Section 1347, the Government must establish that he violated an

 unconstitutionally promulgated standard and that this inherent reliance renders the Indictment

 itself unconstitutional. The Court, having analyzed the arguments on the matter, DENIES Dr.

 Gutti’s Motion to Dismiss and Alternative Motion in Limine.



 1
   Dr. Gutti is alleged to have ordered unnecessary and fraudulent presumptive and quantitative urine
 analyses. [R. 1 at 8-9.] Presumptive urine analyses are used to detect the presence of narcotics in the
 body; quantitative urine analyses are used to determine the amount of a narcotic present in the body. The
 Government alleges that Dr. Gutti ordered sets of these tests through fraudulent blanket orders,
 irrespective of individual patients’ medical needs. [R. 35 at 2-3.]

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                                                   II

                                                   A

        Dr. Gutti first seeks complete dismissal of the Indictment brought against him. Federal

 grand jury indictments have a purpose. As the Supreme Court explained in Russell v. United

 States, our use of the indictment today is rooted in the guarantees set forth in the Fifth and Sixth

 Amendments to the United States Constitution. See 369 U.S. 749, 760-61 (1962). The Fifth

 Amendment provides that “No person shall be held to answer for a capital, or otherwise

 infamous crime, unless on a presentment or indictment of a Grand Jury . . . .” U.S. CONST.

 amend. V. And according to the Sixth Amendment, “In all criminal prosecutions, the accused

 shall enjoy the right . . . to be informed of the nature and cause of the accusation . . . .” U.S.

 CONST. amend. VI. Out of this constitutional framework comes two criteria for federal

 indictments: First, an indictment must set forth the elements of the offense charged, thereby

 giving notice to a defendant of the accusations he must face. Second, an indictment must be

 sufficiently specific so that a defendant may plead double jeopardy, if charged in a subsequent

 proceeding with the same crime based on the same facts. See Russell, 369 U.S. at 763-64;

 United States v. Martinez, 981 F.2d 867, 872 (6th Cir. 1992). With these requirements in mind,

 the Court considers Defendant Gutti’s argument.

        In his attack of the Indictment, Dr. Gutti does not argue that the Indictment violates

 Russell or that 18 U.S.C. § 1347 itself is unconstitutional. [R. 34.] Instead, Dr. Gutti frames the

 Indictment as alleging that, because he violated “sub-regulatory” standards, he therefore

 committed fraud. Id. Dr. Gutti argues the Government’s reliance on “sub-regulatory” standards

 stains the Indictment and requires its dismissal. Id. Regarding the regulatory process in

 question, the Government explains that the Department of Health and Human Services contracts



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 with the Centers for Medicare and Medicaid Services (“CMS”) to promulgate regulations and

 provide guidance about the reimbursement requirements for specific services and procedures, [R.

 35 at 3; 42 U.S.C. § 1395hh.] CMS in turn contracts with Medicare Administrative Contractors

 (“MACs”) to “administer its rules and regulations and adjudicate claims submitted to the

 Medicare program within a specified region.” See 42 U.S.C. § 1395(h); 42 C.F.R. §§ 421.3.

 421.100. In turn, MACs issue Local Coverage Determinations (“LCDs”), which serve as

 “determinations” as to “when a particular item or service is reimbursable.” See 42 U.S.C. §

 1395ff(2). Specifically regarding urine analyses, the MAC for the region which includes

 Kentucky has issued LCD L36029 which “makes clear that urine drug testing that is the result of

 ‘blanket orders’ or ‘routine standing orders’ is not medically reasonable and necessary and

 therefore, not reimbursable.” [R. 35 at 4.] Thus, under LCD L36209, urine drug testing by

 blanket orders is not permitted to be reimbursed unless it is a medical necessity. See id.

        Additionally, LCD L36029 states that, to be allowed reimbursement from Medicaid or

 Medicare, a doctor must document a need for ordering drug urine tests in his patients’ charts and

 only administer urine drug tests when medically necessary. [R. 34 at 4.] In his Motion to

 Dismiss, Dr. Gutti characterizes the Indictment as alleging that, because he violated LCD

 L36029’s requirements for reimbursement, he committed health care fraud. [See R. 34 at 4; R.

 17 at 19.] Gutti contends that, because the requirements for reimbursement and the “medically

 necessary” standard were each promulgated by a MAC, who lacks rulemaking power, and not

 within the health care fraud statute itself as legislated by Congress or an entity granted proper

 rulemaking power, his Indictment must be dismissed. Id. at 9.

        In opposition, the Government first argues that the Russell standard is satisfied and

 therefore the Indictment should survive Dr. Gutti’s Motion to Dismiss. Next, the Government



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 argues that Dr. Gutti’s private nondelegation argument is misguided because the Government’s

 claim that Dr. Gutti violated LCD L36029 is simply evidence used to support its allegation of

 health care fraud and not an alleged violation of law itself. [R. 35.]

        Despite Dr. Gutti’s thoughtful argument, the Court is unpersuaded by his characterization

 of the Indictment and the issue at hand. First, Dr. Gutti does not claim that the Indictment does

 not inform him of the criminal charges brought against him or that the Indictment is not

 sufficiently specific to allow him to plead double jeopardy in a proceeding going forward. See

 Russell, 369 U.S. at 763, 764. Nor could he reasonably do so. The Indictment charges Dr. Gutti

 with eights counts of health care fraud in violation of 18 U.S.C. § 1347. [R. 1 at 6.] The

 Indictment continues by describing that Dr. Gutti submitted “false and fraudulent claims to

 Medicare, Medicaid, and other health care benefit programs,” and did so through a process of

 directing employees to perform urine drug tests without establishing medical necessity. Id. at 6-

 7. The Indictment also includes a table listing each fraudulent claim and the dates at which Dr.

 Gutti filed these claims. Id. at 10. The document clearly and adequately informs Dr. Gutti of the

 crimes with which he is charged, such that he and counsel can prepare a defense to the

 Government’s allegations. Additionally, the Indictment sets forth the dates the allegedly

 unnecessary urine samples were collected and tested, the beneficiaries’ initials, and the payors

 for each of the eight health care fraud counts charged. [R. 1 at 10.] Based on this charging

 document, Dr. Gutti should have no trouble raising a double jeopardy defense should he be

 charged with a similar crime at any future point in time.

        Next, Dr. Gutti’s argument that the Government’s reliance on LCD L36209 renders the

 Indictment unconstitutional is unpersuasive. Dr. Gutti alleges that the Government is charging

 him with fraud because he did not document the individualized need for the urine drug tests, i.e.



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 medical necessity, of each patient prior to administering the tests. [R. 34-1 at 4.] Dr. Gutti

 alleges that the Indictment is therefore unconstitutional because these standards were

 promulgated by a private entity who lacks rulemaking power. Id. Under Dr. Gutti’s

 characterization, the Government is charging him, at least inherently, not with health care fraud

 under Section 1347, but with a violation of the standards set forth by the LCD. See id. Dr.

 Gutti’s Motion then contains several pages of argument surrounding the unconstitutionality of

 being charged with a violation of a rule promulgated by an entity which lacks constitutional

 rulemaking power. See [R. 34-1 at 6-14.]

         In response, the United States characterizes the violation of LCD standards not as

 substantive criminal acts but as relevant evidence for a jury to weigh in deciding whether a

 defendant committed health care fraud. [R. 35 at 11.] The United States explains that “Gutti is

 charged with violating Section 1347, not the LCD. The United States will not argue, nor will the

 jury be instructed, that simply violating the LCD constitutes a crime. Instead, the United States

 intends to present the LCD as evidence of the crime . . . .” Id. In support, the United States

 describes that medical necessity cases brought under Section 1347 cover a wide variety of

 situations and are not limited to any particular procedure or service. Id. (referencing United

 States v. Franklin-El, 554 F.3d 903, 910-11 (10th Cir. 2009)). It additionally argues that LCDs,

 promulgated on multitudes of topics not specifically mentioned in Section 1347 itself, can be

 used to help a jury determine whether fraudulent activity occurred. Id. at 10. The United States’

 reference to United States v. Semrau is particularly compelling. 693 F.3d 510 (6th Cir. 2012). In

 Semrau, the Sixth Circuit upheld a defendant’s conviction despite his argument that he had been

 charged with violating the rules of CPT code billing procedures instead of health care fraud. 2


 2
  The defendant’s argument in Semrau is strikingly similar to Dr. Gutti’s in this matter. In Semrau, the
 defendant alleged that he had been unconstitutionally convicted because he violated CPT billing codes,

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 The Sixth Circuit found that the defendant had not been convicted for violating these codes, but,

 instead, had been convicted under Section 1347 and the CPT codes were simply evidence used to

 prove his fraud. Id. at 530-31. This decision parallels the current matter.

         Upon analysis of all arguments on the matter, the Court is unpersuaded that Dr. Gutti’s

 Indictment is unconstitutional. First, the Indictment satisfies the two-prong Russell test. The

 document clearly and adequately informs Dr. Gutti of the crimes with which he is charged, such

 that he and counsel can prepare a defense to the Government’s allegations. Additionally, based

 on the charging document, Dr. Gutti should have no trouble raising a double jeopardy defense

 should he be charged with a similar crime at any future point in time. Second, the Court agrees

 with the United States that the standards promulgated by a MAC relevant to this matter are

 evidentiary and are referenced by the United States as proof of Dr. Gutti’s alleged fraud, not

 independent violations of the law. Accordingly, and the Court being otherwise sufficiently

 advised, Dr. Gutti’s Motion to Dismiss Indictment [R. 34] is DENIED.

                                                     B

         Next the Court turns to Dr. Gutti’s Alternative Motion in Limine [R. 34.] Because the

 evidence in question 3 has been determined as evidentiary in nature, the Court need not analyze

 whether the procedures by which a MAC promulgates LCDs is unconstitutional and therefore

 irrelevant. [R. 34-1 at 14.] The United States has indicated that it does not object to a proper

 limiting instruction on the matter. [R. 35 at 21.] The Court welcomes the parties to pursue this

 in the context of trial.




 which lacked the force of law. 693 F.3d 510, 530 (6th Cir. 2012). The defendant alleged his conviction
 violated multiple constitutional provisions, including the nondelegation doctrine. Id. The Sixth Circuit
 rejected this argument.
 3
   The various standards promulgated by MACs through LCDs

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        Accordingly, and the Court being otherwise sufficiently advised, it is hereby ORDERED

 that the Defendant’s Alternative Motion in Limine [R. 34] is DENIED.



        This the 9th day of November, 2020.




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